
722 S.E.2d 594 (2012)
Mark W. WHITE
v.
Robert J. TREW.
No. 33PA12.
Supreme Court of North Carolina.
March 8, 2012.
Brian R. Berman, Assistant Attorney General, for Trew, Robert J.
C. Amanda Martin, Raleigh, for White, Mark W.
James M. Hash, Raleigh, for White, Mark W.


*595 ORDER

Upon consideration of the petition filed on the 24th of January 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of March 2012."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Defendant shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
